 

Case 2:08-cv-02832-JTF-tmp Document 12-4 Filed 02/12/10 Pagelof9 PagelD 420

Exhibit 2
 

Case 2:08-cv-02832-JTF-tmp Document 12-4 Filed 02/12/10 Page 2of9 PagelD 421

Department of Veterans Affairs
Office of Acquisition & Materiel Management

January/ March 2003

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INSIDE THIS ISSUE

VA’s Small Business Page 1
Goals

FSS Program Page 2

Medical Imaging Page 3

Maintenance Contracts
Small Business Awards Page 3

JWOD Corner Page 4
Paradigms of Success Page 5
Upcoming Health
Care Events Page 5
New Contracts Page 6
FSS Small Business Page 7
Contracts Listing
GSA’s Facilities Page 8

Maintenance Plus Contracts

 

We would like your comments!
What topics do you want
covered? What information do
you want to see? Please contact:

Susan Lewis at
susan lewis(@med.va.gov

Sandra Murbach at
sandra.murbach@med.va.gov

nac@med.va.gov

 

 

VA’s Small Business Goals |

By: David S. Derr, Associate Deputy Assistant Secretary for Acquisitions

I hope that one of your New Year’s
resolutions is to increase the amount
of business that you are directing
toward small and disadvantaged
businesses, especially those owned by
veterans and service-disabled veterans.
The Department of Veterans Affairs
(VA) has consistently done well in
making awards to small businesses,
but our good results have been eroding
over the years. VA should be the
leader in making awards to veteran-
owned and service-disabled veteran-
owned firms. It is time to renew our
commitment to small and
disadvantaged businesses and to all of
the other socioeconomic programs.

Mr. Gary J. Krump, Deputy Assistant
Secretary, Office of Acquisition and
Materiel Management and Mr. Scott
Denniston, VA Director, Office of
Small and Disadvantaged Business
Utilization, have commissioned a task
force to seek out ways to improve
VA’s performance in making contract
awards to veterans. The report should
be issued in the near future and I
encourage all of you to support the
findings of the task force and to renew
your efforts to seek out and make
contract awards to firms owned by
veterans.

Buying from veterans directly
supports VA’s national goals. Goal 1
is to restore the capability of disabled
veterans to the greatest extent possible
and to improve the quality of their

lives and that of their families. What _

better way to restore capability than by
supporting disabled veterans’

businesses? Goal 2 is to ensure a
smooth transition of veterans from
active military service to civilian

life. Here too, supporting veteran-
owned businesses helps in this
transition. Goal 3 is to honor and
serve veterans in life and
memorialize them in death for their
sacrifices on behalf of the Nation.
Buying from veteran-owned
businesses honors and serves those
veterans who own businesses. Goal
4 is to contribute to the public health,
socioeconomic well-being, and
history of the Nation. Buying from
veteran-owned firms directly
supports the socioeconomic well-
being of the Nation and is directly
linked to VA’s very reasons for
existence.

I wish all of you a Happy New Year
and encourage you to renew your
efforts to support the Department’s
socioeconomic goals. For more
information, refer to Information
Letter 049-02-14 which provides
additional guidance on this issue.

 

Socio-Economic
Firms Listed

To help your facility meet’ their
socio-economic goals, a
comprehensive listing of current
Federal Supply Schedule small
business contract holders may be
found starting on page 7. We hope
you find this information useful.
 

Case 2:08-cv-02832-JTF-tmp Document 12-4 Filed 02/12/10 Page 3of9 PagelD 422

Federal Supply Schedule
Program

As some of you may be aware, the General Services
Administration (GSA) announced in November it
would lower the 1 percent industrial funding fee
(IFF) on its multiple awards schedules to 0.75
percent effective January 31, 2004. The decision to
lower the IFF came about through the combined
efforts of vendors urging for the reduction, a report
from the General Accounting Office, and a
recommendation from consultants, hired by GSA, to
help the agency operate more efficiently. So what
does this mean to our customers that use
Department of Veterans Affairs (VA) FSS contracts
for their contracting needs? VA FSS contracts are
unaffected by GSA’s decision to lower their IFF
and are still the best deal in town with an JFF of
0.50 percent. For additional information on VA’s
FSS Program, please log on to
www.va.gov/oaé&mm/nac/fsss/index.htm.

FSS Vendor Trade Shows

Another excellent. way to become familiar with the
FSS Program is to attend an FSS Vendor Trade
Show. The FSS Vendor Trade Show has been
extremely popular with both the vendor and Federal
government medical communities. The VA’s
Office of Acquisition Material Management
(OA&MM) Business Development and Marketing
Office sponsors this program, with support of the
National Acquisition Center (NAC).

FSS Vendor Trade Shows have been endorsed by
Secretary Principi and are being held at selected VA
medical centers and military medical centers
nationwide. These one-day table top targeted
expositions feature approximately 30-50 FSS
vendors who specialize in medical equipment and
supplies, pharmaceuticals, dental supplies,
wheelchairs, in-vitro diagnostics and reagents, x-ray
equipment and supplies, cost per test services, bulk
oxygen, cylinder gas, CR/DR mammography,
CT/MRI therapy, IV solutions, laundry equipment,
medical/surgical prime vendor program, nuclear and
ultrasound equipment and much more! Vendors
have the opportunity to interact and showcase their

products and services to purchasing officials,

- contracting officers, credit card holders, hospital

and clinic administrators, and end users who.-are in
the market for products, equipment,
pharmaceuticals or services. The shows also feature
representatives from OA&MM and General
Services Administration. OA&MM representatives
are available to assist logistics, contracting officers,
and vendors with questions regarding
OA&MM/NAC programs, products and services.

The OA&MM Vendor Trade Shows accomplish

several things: 1) promotes and educates VA
employees and other attendees about the FSS
Program; 2) raises awareness in the vendor
community to the VA's requirements and needs; and
3) directly supports Secretary Principi's expressed
preference for VA activities to use FSS contracts.

The OA&MM_ Business Development and
Marketing Office is in the process of developing
FSS vendor trade shows for the next fiscal year. If
any facility would like to host a vendor show, we
have openings in the schedule starting in the June
2003 time frame. These are a fun type of activity
and provide the medical facility staff with exposure
to several medical products. The OA&MM
Business Office will coordinate all the details of
producing the show and no work or cost is required
from the medical facility. All administrative
procedures are coordinated and approved by the
hosting facility, prior to the implementation of the
vendor trade show date. All the shows have been a
sellout as space has been limited to 30 to 50
vendors.

Any facility that would like to host an FSS Vendor
Trade Show or requires additional information,
please contact the Business Development and
Marketing Office, Arthur East at (202)-273-6107 or
Tom Davenport at (813) 979-3648.

 
 

Case 2:08-cv-02832-JTF-tmp Document 12-4 Filed 02/12/10 Page 4of9 PagelD 423

DoD Shares Medical
Imaging Maintenance
Contracts with VA

In the spirit of cooperation preceding a signed
Memorandum of Agreement, the Defense Supply
Center Philadelphia (DSCP) has made its medical
imaging maintenance contracts available to the
Department of Veterans Affairs (VA) for use. As of
this writing, DSCP has placed Indefinite Delivery
Indefinite Quantity contracts for post-warranty
maintenance services with five companies:

GE Medical Systems

Siemens Medical Systems

Philips Medical Systems North America
Toshiba America Medical Systems
COHR, Inc., d/b/a Masterplan

In order to use these contracts, you must first
contact Ms. Pat McKay at the VA National
Acquisition Center (NAC) Direct Delivery Team to
obtain a delegation of authority and a task order
number. You will be required to provide a copy of
the written delegation to the vendor, and to furnish a
copy of your order to DSCP. Their address will be
provided by NAC, with an electronic copy of the
applicable contract. Administration of the task

~~ order will be your facility's responsibility. There is”

no surcharge applicable to these orders.

Please have the following information available
when you call or email NAC:

1. Your station's mailing address;

2. The name of the individual who will be
placing the task order; and

3. The company you wish to order from.

If you have any questions, please contact Pat
McKay at (708) 786-5251 or
Particia.|McKay@med.va.gov.

 

Do you know? how to tell whether you can order
against a NAC contract, or have to send the
purchase to the NAC Direct Delivery team? The
contract number is the key. If the contract number
is V797P-6xxxx, it's Direct Delivery and purchase
authority is held by NAC. If the number after the
dash is anything but a six, it's a Federal Supply
Schedule (FSS) contract and you can place the order
yourself. There are two exceptions to the rule:

(a) There are a few Cost-Per-Test lab
contracts that are numbered V797P-6xxxx. These
are FSS, and can be locally ordered against; and

(b) Most Direct Delivery medical equipment
contracts contain local-purchase delegations up to a
specific dollar amount:

¥ X-Ray $25,000 (corrected)

v Radiation Therapy $50,000

Y Ultrasound $50,000 for
accessories only; complete systems must be
sent to NAC

¥ CT/MRI $250,000

If you aren't sure which category the equipment
falls in, please contact Pat McKay at (708) 786-
5251 or Particia McKay@med.va.gov.

 

| Small Business Awards

vA Federal Supply Schedule contract was
awarded to a veteran-owned small business for
dental cabinetry and accessories. Because the
cabinets are modular, customers can custom
design a system to accommodate their space
and budget. This award consists of 300 line
items with negotiated discounts 50 percent
below commercial list price. For more

-information,--contact--Sandra - Perkins -at-(708)__. -- -

786-495 8 or Sandra. Perkins(@med.va.gov.

¥ The National Acquisition Center (NAC)
recently awarded a national mandatory Blanket
Purchase Agreement (BPA) to a _ small,
disadvantaged, service-disabled veteran-owned
business. The five-year BPA for bathroom
supplies is valued at $160,000 annually. This
initiative was coordinated with VA's Center for
Veterans Enterprise. The Center for Veterans
Enterprise provides assistance to veterans and
service-disabled veterans who want to open or
expand a business. For more information,
please contact Karen Law at (708) 786-4985 or |

Karen.Law@med.va.gov.

 
 

Case 2:08-cv-02832-JTF-tmp Document 12-4 Filed 02/12/10 Page5of9 PagelD 424

JWOD Corner

VA sets pace for Federal Community in
celebrating National Javits-Wagner-O’Day
(JWOD) Week Activities

In keeping with its mission, the Department of
Veterans Affairs (VA) takes very seriously its
commitment to the JWOD Program. Working with
disabled veterans, VA understands the value—to
individuals, their families, and society—of creating
jobs for disabled persons.

Secretary of Veterans Affairs Anthony J. Principi
reaffirmed VA’s support for JWOD in a recent
memorandum in honor of National JWOD Week,
October 12-20, 2002. “We look forward to working
‘with JWOD, promoting the purchase of their
supplies and services,” said Principi. JWOD Week
is celebrated during the month of October,
designated as National Disability Employment
Awareness Month.

To observe JWOD Week and National Disability
Employment Month, VA hosted a JWOD Vendor
Day at its headquarters in Washington, DC, on
October 3, 2002. Twenty JWOD vendors set up
exhibits to showcase their products and services,
covering everything from cleaning services to office
supplies and eyeglasses.

VA Deputy Assistant Secretary for Acquisition and
Materiel Management Gary J. Krump welcomed
vendors and employees to the event. Krump, a
long-time member of the Committee for Purchase
From People Who Are Blind or Severely Disabled,
noted the cost-effectiveness of the JWOD Program,
calling it “a best value practice for spending Federal
acquisition dollars.” To officially open the event,
Krump invited Paul Plattner of NISH and Jim
Gibbons, President and CEO of the National
Industries for the Blind, to join him in cutting a
ceremonial red, white, and blue ribbon. VA
employees then circulated among the exhibits to
learn more about the diverse services and products
available from JWOD vendors.

“Bringing together JWOD vendors and VA
employees benefits both groups,” according to
event organizer Mary Elliott, Office of Acquisition
and Materiel Management program analyst, who
serves as associate VA liaison to JWOD. “Our
employees were impressed with the range and

quality of products and services they can obtain
from JWOD vendors. We plan to host other events
like this to do our part to promote the JWOD
Program.”

Kat Galos, VA liaison to JWOD, stressed the
contributions of various individuals in making this
event a success. She singled out for special mention
computer specialist James Falwell in the Office of
Information, Stakeholder & Investment Support
Service, and Joe Nguyen, graphics art specialist in
the Office of Acquisition and Materiel
Management. Falwell graced the audience with a
beautiful rendition of the national anthem and
Nguyen created a unique poster to commemorate
VA’s celebration of JWOD Week.

JWOD agencies participating in the VA event
included Peckham Vocational Industries; Service
Disabled Veterans Business; The Corporate Source;
Easter Seal Society of Superior California; The
Chimes; Seattle Lighthouse for the Blind; South
Texas Lighthouse for the Blind; BOSMA
Industries; Milwaukee Industries for the Blind;
Envision, Inc.; Winston-Salem Industries for the
Blind; Blind Industries and Services of Maryland;
North Central Sight Services; Columbia Lighthouse
for the Blind; and New York City Industries for the
Blind.

Questions concerning the JWOD Program may be
directed to Kat Galos at (202) 437-7300 or
Katherine.Galos@mail.va.gov.

JWOD means Jobs

JWOD means Jobs provides information about
JWOD products and services, and the nonprofit
agencies that help VA meet its mission.

Washington-Greene Co. Branch of the PA
Association for the Blind has been providing quality
medical/surgical products to VA since 1980. VA’s
purchase of surgical masks, suture removal kits, and
tracheotomy care kits under the JWOD Program

' creates 14,000 work hours annually for

approximately 10 people who are blind.
Case 2:08-cv-02832-JTF-tmp Document 12-4 Filed 02/12/10 Page 6of9 PagelD 425

These products include:

Surgical Mask

NSN 6515-00-982-7493 -— Blue contour-shaped
surgical mask is made from non-woven filter
material, features elastic headband and is
manufactured using 3M components.

Suture Removal Kit

NSN 6515-00-690-6911 — Suture removal kit is
sterile and disposable featuring Littauer scissors and
one smooth, serrated forcep. Packaged to provide a
sterile field during use.

Tracheotomy Care Kit

NSN 6515-01-174-8844 — Entire Care Kit
NSN 6515-01-447-1720 — Kit w/o brush and pipe
cleaners

Tracheotomy Care Kit is sterile and disposable and
features hospital wrap, a tray with three soaking
compartments, one folded drape, flexible wire
. handle brush, three pipe cleaners, four cotton or
rayon tipped applicators, six gauze pads, one
tracheotomy sponge, one white tape, and one pair of
exam gloves.

For more information on these and other products
please contact:

Washington-Greene Co. Branch of PA Association
for the Blind

566 East Maiden Street

Washington, PA 15301

(724) 228-0770

BOA# 500678

 

 

Paradigms of Success

By: Howard Swartzman, Acquisition Resources

Not long ago, I was involved in a minor traffic
accident. You know the kind of fender bender that,
while fortunately involves no personal injury, still
leaves you embarrassed and with dents in both your
vehicle and sense of self-esteem. Attempting to
retrace the cause of this mishap, I thought back to
how this failure on my part happened, and more
importantly, just how something like this might be
avoided in the future. What exactly was I doing at
the time that caused me not to see that the light at
the intersection was changing from green to red?

Or, was it even green as I approached it? I honestly
could not remember seeing the stoplight until I well
into the intersection.

As I retraced the events over and over in my mind
the answer suddenly struck me (no pun intended).
Having been in an area of the city that I was
relatively unfamiliar with, I was focusing all my
driving attention on where IJ ultimately wanted to
turn, the intersection that was beyond the one I was
immediately entering. My longer-range goal of
where I would eventually turn kept me from -
adequately identifying and focusing on my short-
range goal, the intersections I had to make it
successfully through first.

Identifying and focusing our attention on both long
and short-range goals is just as important in our
business and professional endeavors as it is in our
personal lives. Often it is quite easy to forget that to
successfully get to where we want to be, our
ultimate destination, we must first identify and
safely make it through many intersections along the
way. At work, each one of these intersections can
represent our short-range goals. They provide us
with our sense of direction and immediate feedback
on just how well we are doing toward achieving our
final goal. Both long and short-range goals are
important to the success of any project.

The next time you are faced with completion of a
long-range goal, take the time to map out your trip
by identifying the intersections along the way that
will keep you on course, provide feedback on your
progress, and most importantly, help you avoid
those dents as you approach the intersections.

Happy motoring!

 

Upcoming Health Care
Events

Upcoming FSS vendor shows (dates will be
provided as details are finalized):

VAMC Alexandria, LA, Tripler Army Medical

Center, Hawaii; VAMC Bay Pines, FL; Jacksonville

(Naval), FL; VAMC Atlanta, GA; VAMC North

Chicago, IL; Great Lakes Navy, Chicago; Ft. Hood
Army), TX; and VAMC Temple, TX.

 
 

Case 2:08-cv-02832-JTF-tmp Document 12-4 Filed 02/12/10 Page 7of9 PagelD 426

New FSS and National
Contract Awards

Listed below are some recently awarded contracts. For
complete information, go to www.va.gov/oa&mm/nac.

 

Federal Supply Schedules

621]
Professional Medical Contract# Business
Healthcare Services V797P- Size
Aerotek Scientific, LLC 4406A Large
Dakota Med Temps, Inc. 44214 Small
Radiology Staffing, Inc. 4413A Small
TeleScience International 4405A _ Small
65 ITA
Medical Equipment Contract# Business
and Supplies V797P- Size
Assistive Technology, Inc  4394A Small
Collins Medical, Inc. 4396A Small
Dominant Distribution Sys 4417A Small
Dwyer Kitchens 4411A Smail
Integrated Dispensing Sys 4325A Small
Integrated Medical Systems
International, Inc. 4386A Small
Noraxon USA, Inc 4414A Small
Paper-Pak Products, Inc. 4399A Small
Sizewise Rentals Inc. 4401A Small
Smith & Nephew, Inc. 4403A Large
Span America Medical Sys 4384A Small
Trademark Medical 4360A Small
65 11. C Contract # Business
Dental Supplies V797P- Size
Hamilton Medical 3902K Small
Vacalon Company 3922K Small
ool Contract # Business
Cost-Per-Test V797P- Size
Nichols Institute Diagnostics 4404A Large
65 Part 1B Contract # Business
Pharmaceuticals V797P- Size
Adams Laboratories, Inc. 0256E Small
Dartmouth Pharmaceuticals 5529X Small
DUSA Pharmaceuticals, Inc. 0257E Small
Eisai, Inc. 0259E Small
ESP Pharma, Inc. 5531X Small
Merck/Schering-Plough
- Distribution Services LLC 0260E Large
Ovation Pharmaceuticals 0255E Small
Ovation Pharmaceuticals, Inc. 5532X Small
United Therapeutics 5535X Small
Upstate Pharma, LLC 5530X Large

65 VA Contract# Business
X-Ray Equip/Supplies V797P- Size
Ampronix, Inc. 3921K Small

65 Part VII
Invitro Diagnostics/ Contract# Business

Reagents V797P- Size
None

650F Contract # Business

Patient Mobility Devices V797P- Size
(ncluding wheelchairs, scooters, walkers, etc.)
Frank Mobility 3898K Small
DT&J, Inc. 3900K. Smail
SMT Health Systems 3901K Small
Span America 3923K Small

National Contracts

Pharmaceutical Items: Contract# Business

Product — V797P- Size
Lisinopril Tablets 90788 Small
Ibuprofen Tablets 9089 Small (SDB)
Medical/Surgical Prime Vendor:
Allegiance Healthcare 9090 Large
American Medical Depot 9091 Small
Blanket Purchase Agreements:
Product Contract# Business
VANAC-90NP1 Size
Hemoccult 98-026A Small
Wound Care Products 03-011 Large
Oral Care Products 03-012 Small ~

Bathroom Cleaning Supplies 03-014 Small (Veteran)

For additional information, contact Karen Law at (708)

786-4948 or Karen.Law@med.va.gov, ~

Prosthetic Item Contract # Business
Product V797P- Size
Medtronics 9093 Large

For additional information, contact Patricia Benson at
(708) 786-5253 or Patricia. Benson@med.va.gov.

Direct Delivery: Contract# Business
X-Ray V797P- Size

None

CT/MRI
None

Laundry Equipment
None

PACS

None
 

Case 2:08-cv-02832-JTF-tmp Document 12-4 Filed 02/12/10 Page 8of9 PagelD 427

FSS Small Socio-Economic

Businesses

Contractor
8a (Small Businesses)

Altos Federal Group, Inc.
Dimensions Medical Supply Group
Jero Medical Equipment & Supplies
Medi-Tech International Corp.

HubZone

RS Staffing Services, Inc.

American Medical Depot
{nternational-Global Enterprises, Inc.
M-COM-DONTAY, LLC

MMI of Mississippi, Inc.

Wiltex, Inc.

Schedule

6211

65 T1A
6STILA
65 ITA

6211

65 ILA
65 ILA
6S ITA
65 ILA
651A

SDB (Small Disadvantaged Businesses)

- Health Management Resources, Inc.

Imiren Pharmaceuticals, Inc.

Marlex Pharmaceutical Inc.

Ocean Care, Inc.

Pharma-Tek Inc.

Sidmak Laboratories

Vita-Erb Limited

Adenna, Inc.

Air Sep Corporation

American Imex

American Medical Depot

Bell Enterprise Corp.

Dexta Corporation

Dimensions Medical Supply Group

Fourth and Short Distribution, Inc.

International-Global Enterprises, Inc.

Internat'l Distribs. Of Electronics
for Medicine

Isolation Systems, Inc.

Jero Medical Equipment & Supplies, Inc.

Kerma Medical Products, Inc.

LSL Industries Inc.

Magnum Medical

M-COM-DONTAY, LLC

Medical Place, Inc.

Medi-Tech International Corp

Miller Medical Sales, Inc.

Phoenix Textile Corporation

Posture-Air Sleep Systems

Practical Medical Devices, LLC

Stephens instruments

U.S. Orthotics Inc.

Universal Home Health & Industrial Supp.

Wiltex, Inc.

Ideal Medical Systems, Inc.

Medical Place

Omaha Medical Supplies

Diagnostic Systems Labs

Quality Biological Inc.

Ideal Medical, Inc.

621]

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651B
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651B
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651B
651A
65 IDA
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65 ILA
65 1A
65 ILA

65 ITA
651A
65 ITA
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651A
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65 IA
65 TA
651A
65 TA
65 IITA

6511C

65 TTF
65 ITF
65 Part VII
65 Part VII
65 VA

Veteran-Owned

CRAssociates, Inc.

RS Staffing Services, Inc.

Beach Products

Bethurum Research & Development
Carolina Medical Products Co., Inc.
Geritrex Corporation

Golden State Medical Supply, Inc.
Mericon Industries Inc.

Ocean Care, Inc.

Pedinol Pharmacal, Inc.
Pharma-Tek Inc.

Specialized Nutraceuticals
Toppbros., Inc.

Versa Pharm.

Wexford, Inc.

Air Clear, Inc.

Anatomic Concepts, Inc.

Baiwa, Inc.

Big Boyz Industries, Inc. -

Bruno Independent Living Aids, Inc.
Cammedco LLC

Churchill Medical Systems, Inc.
Condor Industries, Inc.

Currie Medical Specialties, Inc.
Custom Ultrasonics, Inc. ,
Eagle Work Clothes, Inc.

Electro Medical Equipment Company
Electronic Research Devices Corp.
Flotec Inc.

HE, Inc. (aka Harod Enterprises, Inc.)
InnerSpace Corporation

Integration & Automation Services, Inc.

International Med-Tek Corp

Internat'l Distribs. Of Electronics
for Medicine

Janel Surgical Company, Inc.

Jero Medical Equipment & Supplies

Kenad SG Medical, Inc.

Kirby Lester

Lift Aid

McDade Apparel LLC

Medco Equipment, Inc.

Medical Research Laboratories, Inc.

Medikmark, Inc.

Medi-Tech International Corp.

Micro-Scientific Industries, Inc.

North American Rescue Products, Inc.

Post Medical, Inc.

S&S Technology - MedCart

S&W Healthcare Corporation

SNI, Inc.

Soma Blue, Inc.

Sroufe Healthcare Products, Inc.

Temp-Tronix, Inc.

TI-CO Medical Instruments, Inc. °

Trademark Medical

Twin Medical Company

Vermont Medical, Inc.

Western Medical, LTD.

Dental Resource Inc.

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6211

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Case 2:08-cv-02832-JTF-tmp Document 12-4 Filed 02/12/10 Page9of9 PagelD 428

Hayes Handpiece Repair Co.
Palm Beach Dental Supply, Inc.
Ramvac Corp.

Trademark Medical

Vident

Brike International

Bruno Independent Living Aids
Colours N' Motion

Mercer County Rehab Supply, Inc.
Ortho-Kinetics, Inc.
Pathlighter, Inc.

Redman Power Chair

Stow Away, Inc.

Akers Laboratories
Government Scientific Source
Quality Biological Inc.
Burlington Medical Supplies

Woman-Owned.

Altos Federal Group, Inc.
CCMS

Lisamarie Fallon, Inc.

Novus Medical LLC
PharmaStat, Inc.

Rph On The Go USA, Inc.

Top Does, Inc.

Blaine Pharmaceuticals
Geritrex Corporation

Golden State Medical Supply, Inc.
_ Magno Humphries

Manne Co.

Peters Laboratories, Inc.

Air Clear, Inc.

AK Medical Inc.

American Imex

Barrier Free Lifts, Inc.

Bell Enterprise Corp.

Breveon, Inc.

Buffalo Supply, Inc.

Case Medical Inc.

Cincinnati Sub-Zero Products Inc.
Compression Therapy Concepts
Condor Industries, Inc.

Creative Biomedics, Inc.

Del Mar Medical Systems
Dimensions Medical Supply Group
Enochs Mfg., Inc.

Futuremed America, Inc.
Gibbons Surgical, Corp.
Glacier Cross, Inc.

GSDK

HealthCare Services Network
HipSaver, Inc.

Innovative Imaging Inc.
Isolation Systems, Inc.

James Consolidated, Inc.

Janel Surgical Company, Inc.
Kerma Medical Products, Inc.

Krasity's Medical & Surgical Supply, Inc.

M-COM-DONTAY, LLC
Medical Science Products

65 ITC
65 ITC
65 ILC
65 ITC

6511C

65 ITF
65 IF
65 IF
65 IF
65 LF
65 1F
65 ITF
65 IF
65 Part VII
65 Part VI
65 Part VII
65 VA

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Medical Warehouse, Inc. 65 TILA
Miller Medical Sales, Inc. 65 ITA
Patent Marketing Concepts, LLC 651A
PFB Inter-Apparel Corp. 65 IA
Phoenix Textile Corporation 645A
Princeton Medical Group, Inc. 651A
Principle Business Enterprises 65 ITA
Scale-Tronix, Inc. 65 TL A
Stand Aid of Iowa, Inc. 65 TA
‘Surgi Textile 65 ILA
SWB Elbow Brace, Ltd. 65 ITA
Tetra Medical Supply Corporation 65 TA
The Hymed Group Corporation 65 ILA
Triline Medical Products, LLC 65 ITA |
Vail Products, Inc. 65H A
Weber and Weber Co. 65 TA
Wiltex, Inc. 65TLA
Wiltex, Inc. ; 65T1A
Harry J. Bosworth Company 65 10C
Ideal Medical Systems, Inc. 65 ILC
Palm Beach Dental Supply, Inc. 65 ILC
Sintec, Inc. 65 1C
G.S.D.K. Medical, Inc. 65 ILF
Homecare Products Inc. 65 1 F
Kristi-Care, Inc. 65 ILF
Portable Entry Systems, Inc. 65 IEF
Prairie View Industries, Inc. 65 ITF

J&H Berge, Inc. 65 Part VII
Krasity's Medical & Surgical Supply, Inc. 65 Part Vil

List Biological Laboratories, Inc. 65 Part VII
Mainline Technology 65 Part VII
National Diagnostics 65 Part VII
Ideal Medical, Inc. 65 VA
K-Art X-Ray Supply Company 65 VA

 

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1661 (fax), or mary.snodderly@gsa.gov.
